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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

JAMES HEIRONIMUS,               §
on behalf of himself and        §
all others similarly situated   §
       Plaintiff                §
                                §
V.                              § CASE NUMBER 4:17-cv-00121
                                §
CAVALRY PORTFOLIO SERVICES, LLC §
and RAUSCH, STURM, ISRAEL,      §
ENERSON & HORNIK, LLC,          §
     Defendants                 §


                 DECLARATION OF MANUEL H. NEWBURGER


      I, the undersigned Manuel H. Newburger, make this declaration under

penalty of perjury and state the following:

      My name is Manuel H. Newburger. I am over eighteen years of age, of

sound mind, and competent to make this declaration. I am the lead attorney for

the defendants, and in that capacity, I have personal knowledge of the matters

set forth in this declaration.

      On May 18, 2018, Defendants sent out their notices as required by the

Class Action Fairness Act, 28 U.S.C. § 1715. Exhibits A – C are true copies of

those transmittals.

      Signed this 24th day of August, 2018.

                                  /s/Manuel H. Newburger
                                     Manuel H. Newburger
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                         CERTIFICATE OF SERVICE

      This is to certify that on the 24th day of August, 2018 a true copy of the

above and foregoing Declaration was served through the Court’s ECF system and

by e-mail transmission on the persons on the service list below.


                                             /s/ Manuel H. Newburger
                                                  Manuel H. Newburger
                                                  Texas Bar No. 14946500
                                                  S.D. Texas Bar No. 23234
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